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Lauren Rotonda

From:                              Mease, Sarah (USANM) <Sarah.Mease@usdoj.gov>
Sent:                              Thursday, May 27,2021 1:29 PM
To:                                Lauren Rotonda
Cc:                                pl innenburger_rothsteinlaw.com
Subject:                           U.S. v. Streett - Letter from USAO
Attachments:                       Ltr. to Court, U.S. v. Streett, 5.27.21.pdf



CAUTION. EXTERNAL:


Lauren,
As requested by Judge Browning, l've attached a letter indicating the USAO does not intend to concede error with
respect to Mr. streett's plea agreement or his efforts to withdraw his plea.

Thanks,

Sarah Mease
Assistant United States Attorney
Project Safe Childhood Coordinator
201Third Street N.W., Suite 900
Albuquerque, NM 87102
Office: (5051224-L4O6
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sa ra h.   mease @ usdoj.gov


CAUflON - EXTERNAL EMATL: This email originated outside the Judiciary. Exercise caution when opEning
attachments or clicking on     links.                                  -"-'      ''




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         Case 1:14-cr-03609-JB Document 255 Filed 05/28/21 Page 2 of 2


                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      District of New Mexico

                                                      P.O. Box 607                   Phone: (505) 346-7274
                                                      Albuquerque,   NM   87103      Fax: (505) 346-7296




                                                     May 27,2021


The Honorable James O. Browning
United States District Court
Pete V. Domenici United States Courthouse
333 Lomas Blvd. N.W., Suite 660
Albuquerque, New Mexico 87102

         RE:    United States v. Bentley Streett, No. 14-CR-03609 JB

Your Honor:

       During the hearing on the above-referenced matter on May 12,2021, the Court asked the
United States for assurance that it did not intend to concede error on any issue related to the
Court's anticipated ruling denying Defendant's motion to withdraw his guilty plea. Doc. 239.1

       Following consultation with the United States Attorney's Office Appellate Chief, the
United States reiterates the comments made to the Court on May 12,2}2llnamely, that the
United States has no intention of conceding error with respect to the plea agreement or
Defendant's efforts to withdraw his plea.



                                                     Sincerely,

                                                     FRED J. FEDERICI
                                                     Acting United States Attorney



                                                     SARAH J. MEASE
                                                     Assistant United States Attorney


cc: Paul Linnenburger, counsel for Bentley Streett



       I Defendant
                   filed a second motion to withdraw his guilty plea, Doc.        24T,butwithdrew
that motion during the course of the hearing on May 12,20:21   .
